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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO.

  PROPERTY TAX CONSULTANTS, LLC,
  a Florida limited liability company,

         Plaintiff,

         v.

  TAX SAVERS OF MIAMI, INC., a Florida
  corporation, and LAWRENCE PUYANIC,
  an individual,

        Defendants.
  _________________________________/

                                             COMPLAINT

         Plaintiff, Property Tax Consultants, LLC (“Property Tax Consultants” or “Plaintiff”), by

  and through undersigned counsel, hereby sues the Defendants Tax Savers of Miami, Inc. (“Tax

  Savers”) and Lawrence Puyanic (“Puyanic”), and alleges as follows:

                                            INTRODUCTION

         1.      Backed by practitioners with long term experience (one as far back as 1982),

  Property Tax Consultants represents owners of real and tangible personal property in connection

  with, inter alia, property tax appeals.

         2.      Firms that provide these services customarily send marketing literature to current

  and prospective clients in the months leading up to the deadline to submit property tax appeals.

         3.      This action concerns false or misleading claims made by the Defendants on their

  website and in connection with advertisements issued in 2024. The false or misleading claims

  include representations about success rates and other information that is material to clients or

  prospective clients when make decisions about the hiring of a firm to handle property tax matters.




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                                        NATURE OF THE ACTION

          4.       This is an action seeking injunctive and other relief as a result of the Defendants’

  (a) false and misleading advertising, unfair competition, and false misrepresentation in violation

  of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a); (b) unfair and deceptive trade practices

  in violation of Fla. Stat. §501.201, et seq.; (c) misleading advertising in violation of Fla. Stat.

  §817.41; and (d) tortious interference with Plaintiff’s advantageous business relationships.

                                             THE PARTIES

          5.       Plaintiff is a limited liability company duly organized under the laws of the State

  of Florida, with a principal place of business in this District at 1484 E. Hallandale Beach

  Boulevard, Hallandale, Florida 33009.

          6.       Defendant Tax Savers, is a for-profit corporation registered in the State of Florida,

  with a principal place of business at 717 Ponce de Leon Boulevard, Suite 330, Coral Gables,

  Florida 33134.

          7.       Defendant Puyanic is an individual with an address at 717 Ponce de Leon

  Boulevard, Suite 330, Coral Gables, Florida 33134.

          8.       At all times material hereto, Tax Savers has been conducting business in this

  District, primarily in Miami-Dade County and Broward County.

          9.       Defendant Puyanic is the President of Defendant Tax Savers. Upon information and

  belief, he has the capacity to control the acts of Defendant Tax Savers; supervises and has the

  ability to supervise the acts complained of against Defendant Tax Savers; has induced, has caused,

  and/or is a motivating force behind the acts set forth herein; and has a financial interest in and/or

  actually participated in said acts.




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                                       JURISDICTION AND VENUE

          10.         This Court has jurisdiction over this action pursuant to 28 U.S.C. §§1331. This

  Court also has jurisdiction pursuant to the doctrine of supplemental jurisdiction, as set forth in 28

  U.S.C. §1367.

          11.         Personal jurisdiction is proper over the Defendants because the Defendants reside

  in this District.

          12.         Personal jurisdiction is proper over the Defendants because:

                      a. Defendants are engaged in substantial and not isolated activity within the State

                         of Florida and this District, within the meaning of Fla. Stat. §48.193(2); and/or

                      b. Defendants have operated, conducted, engaged in, or carried on a business or

                         business venture in the State of Florida and this District, from which this action

                         arises, within the meaning of Fla. Stat. §48.193(2); and/or

                      c. Defendants have maintained an office or agency in the State of Florida and this

                         District, within the meaning of Fla. Stat. §48.193(2); and/or

                      d. Defendants have committed tortious acts within the State of Florida and this

                         District, including the false advertising, unfair trade practices, and business

                         interference set forth herein, within the meaning of Fla. Stat. §48.193(2).

          13.         Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c) for the following

  reasons:

                      a. All Defendants reside in this District; and/or

                      b. All Defendants are subject to personal jurisdiction in this District; and/or

                      c. a substantial part of the events or acts giving rise to the claims alleged herein

                         occurred in this District; and/or




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                 d. the acts complained of are being committed or have been to be committed in

                     this District.

                                      FACTUAL ALLEGATIONS

         14.     Plaintiff and Defendants are competitors in the property tax assessment appeal

  business, offering those services to residential and commercial clients.

         15.     Defendants have commenced publishing, circulating, and disseminating written

  advertisements and communications as set forth hereinafter with greater particularity. (Exhibit A).

         16.     The advertisements and communications published by Defendants in commerce

  contain information that is false or stated in a way as to be misleading by misrepresenting the

  qualities of Defendants’ services, and which Defendants knew or should have known to be false.

                          Defendants Misrepresent Results and Experience

         17.     Defendants have made numerous false or misleading representations to consumers

  regarding the nature or effectiveness of their services. Upon information and belief, these include:

                 a. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 85% for properties
                    valued at over $1 million across retail, multi-family, and industrial asset
                    classes,” when the actual success rate was nearly 30% lower at 57.84%,
                    as shown in the table in Paragraph 19, below.

                 b. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 70% for properties
                    valued at over $5 00,000 across single family, condominium, and multi-
                    family asset classes,” when the actual success rate was over 20% lower
                    at 49.57%, as shown in the table in Paragraph 19, below.

                 c. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 70% with vacant
                    land,” when the actual success rate was over 15% lower at 54.71%, as
                    shown in the table in Paragraph 19, below.

                 d. making the false or misleading claim in their advertising that Tax Savers
                    has handled “250,000+ successful property tax appeals.”




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                Defendants’ Published Success Rates are Intentionally Misleading

         18.     Defendants claim in the challenged advertisements to have an “industry-leading

  success rate of 70% or 85%, depending on the advertisement or class of properties. (Exhibit A).

         19.     The available data demonstrates that the Defendants’ claimed success rates are false

  or misleading, in that the actual success rates are lower than the ones advertised, as shown below.

                  Reduced        Total                      Reduced       Total
                  Petitions    Petitions   Percentage       Petitions   Petitions
     Property    in Miami-    in Miami-     in Miami-          in          in       Percentage     Overall
       Type         Dade         Dade          Dade         Broward     Broward     in Broward   Percentage
     VACANT
                    301          456        66.01%             1           96         1.04%       54.71%
      LAND

                       Tax Savers Claim       70%
   $500k+
     SINGLE
                    239          533        44.84%             91         210        43.33%       44.41%
     FAMILY
     CONDO          277          527        52.56%             28          86        32.56%       49.76%
      MULTI
                    545          785        69.43%             83         407        20.39%       52.68%
     FAMILY
     TOTALS        1,061        1,845       57.51%            202         703        28.73%

                    Overall Percentage      49.57%
                      Tax Savers claim       70%
   $1m+
     MULTI
                    283          359        78.83%             41         187        21.93%       59.34%
     FAMILY
   INDUSTRIAL       253          284        89.08%             85         287        29.62%       59.19%
     RETAIL         192          255        75.29%             31         158        19.62%       54.00%
      TOTAL         728          898        81.07%            157         632        24.84%

                    Overall percentage      57.84%
                      Tax Savers claim       85%

         20.     Defendants’ false and misleading statements as to the success rates, which have

  been touted in commerce through Defendants’ website and advertisements/solicitations, have

  deceived or have the tendency to deceive the intended audience and consuming public about

  matters that are material to buyers’ purchasing decisions.




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         21.     The false and misleading statements were also intended to harm Plaintiff’s interests

  by seeking to persuade and misdirect customers and potential customers of Plaintiff’s services to

  instead engage the Defendants for competing services.

       Defendants Make False or Misleading Statements of Fact Regarding Their Business

         22.     In addition to inflated success rates, Defendants make various claims in the

  challenged advertisements that, upon information and belief, are untrue and designed to persuade

  prospective customers to engage the Defendants, in order to increase the Defendants’ profits at the

  expense of competitors that engage in fair competition.

         23.     Specifically, Defendants have claimed in the challenged marketing to have had over

  250,000 successful appeals. See Exhibit A; see also Exhibit B.

         24.     On information and belief, Tax Savers has not handled 250,000 total property tax

  appeals, let alone over that many successful appeals.

         25.     Defendants’ website states that Tax Savers was “[f]ounded in 1989” and handles

  “5,000 to 8,000 petitions a year” in Miami-Dade and Broward County. See Exhibit B.

         26.     In order to claim success in over 250,000 appeals, the Defendants would have had

  to average somewhere in the range of 7,142 successful appeals every year for the last 35 years.

         27.     Upon information and belief, the Defendants’ advertising is also false or misleading

  to the extent it fails to disclose that, for at least some of the appeals managed by the Defendant Tax

  Savers, clients are not represented in hearings by individuals possessing the requisite qualifications

  under § 194.034 of the Florida Statutes.

    Defendants’ False or Misleading Advertisements are Financially Motivated and Damaging

         28.     The false and misleading statements made by the Defendants regarding products or

  services that affect interstate commerce have deceived, or have the tendency to deceive, the




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  intended audience and consuming public about matters that are material to consumers' purchasing

  decisions. The foregoing false and misleading statements were also intended to harm Plaintiff's

  interests by seeking to persuade and misdirect customers and potential customers of Plaintiff's

  services to instead engage Defendants' services based on this false or misleading information.

          29.     Each of the above misstatements or subversions of fact was undertaken willingly,

  knowingly, or recklessly by Defendants with the intention of increasing Defendants’ profits at the

  expense of the consuming public and competitors.

          30.     All of Defendants’ above-referenced false advertising and deceptive trade practices

  have caused, and will continue to cause, damage to Plaintiff.

          31.     Defendants’ above-referenced acts were deliberate, willful, and intentional

  violations of Plaintiff’s rights, and were committed for the sole purpose of commercial gain.

          32.     The acts of the Defendants complained of herein have caused and will continue to

  cause substantial and irreparable injury to Plaintiff unless such acts are restrained by this Court.

          33.     Plaintiff has no adequate remedy at law.

                                                 COUNT I

        VIOLATIONS OF SECTION 43(a) OF THE LANHAM ACT, 15 USC §1125(a),
          UNFAIR COMPETITION, FALSE AND MISLEADING ADVERTISING

                                        (Against all Defendants)
          34.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

  33, including all subparts, as if fully set forth herein.

          35.     Section 43(a) of the Lanham Act prohibits Defendants from using false and

  misleading descriptions of fact or other representations of fact which misrepresent the nature,

  characteristics, or qualities of their or another person’s goods or services.




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         36.       Defendants’ misleading and false statements regarding products or services that

  affect interstate commerce have deceived, or have the tendency to deceive, the intended audience

  and consuming public about matters that are material to those consumers’ purchasing decisions.

  The foregoing false and misleading statements were also intended to harm Plaintiff’s interests by

  seeking to persuade and misdirect customers and potential customers of Plaintiff’s products not to

  purchase Plaintiff’s services.

         37.       Defendants have disseminated and continue to disseminate false and misleading

  statements regarding products or services that affect interstate commerce, in a manner which

  constitutes false advertising and unfair competition in violation of Section 43(a) of the Lanham

  Act, 15 U.S.C. §1125(a).

         38.       Plaintiff has been damaged by the reliance of consumers upon Defendants’ false

  and misleading statements.

         39.       Defendants have reaped unjustified profits and have been unjustly enriched by their

  misstatements.

         40.       The acts of the Defendants constitute unfair competition, and false or misleading

  advertising in violation of the federal Lanham Act, 15 U.S.C. § 1025(a).

         41.       The aforesaid acts of the Defendants have harmed or will harm Plaintiff.

         42.       The aforesaid acts of the Defendants have caused and will cause great and

  irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

  continued and Plaintiff will continue to suffer great and irreparable injury.

         43.       Plaintiff has no adequate remedy at law.

      WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.




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                                                  COUNT II

                   FALSE OR MISLEADING ADVERTISING IN VIOLATION
                             OF FLORIDA STATUTE §817.41

                                            (Against all Defendants)

          44.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

  33, including all subparts, as if fully set forth herein.

          45.     Fla. Stat. §817.41(1) provides that:
                           [i]t shall be unlawful for any person to make or
                           disseminate or cause to be made or disseminated
                           before the general public of the state, or any portion
                           thereof, any misleading advertisement. Such making
                           or dissemination of misleading advertising shall
                           constitute and is hereby declared to be fraudulent and
                           unlawful, designed and intended for obtaining
                           money or property under false pretenses.

          46.     The Defendants have made or disseminated, and continue to make or disseminate

  misleading advertising, including but not limited to the following:

                  a. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 85% for properties
                     valued at over $1 million across retail, multi-family, and industrial asset
                     classes,” when the actual success rate was nearly 30% lower at 57.84%,
                     as shown below:

                   Reduced        Total                       Reduced       Total
                   Petitions    Petitions    Percentage       Petitions   Petitions
     Property     in Miami-    in Miami-      in Miami-          in          in       Percentage     Overall
        Type         Dade         Dade           Dade         Broward     Broward     in Broward   Percentage
      MULTI
                     283          359         78.83%             41         187        21.93%       59.34%
      FAMILY
   INDUSTRIAL        253          284         89.08%             85         287        29.62%       59.19%
      RETAIL         192          255         75.29%             31         158        19.62%       54.00%
       TOTAL         728          898         81.07%            157         632        24.84%

                     Overall percentage       57.84%

                  b. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 70% for properties
                     valued at over $500,000 across single family, condominium, and multi-



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                        family asset classes,” when the actual success rate was over 20% lower
                        at 49.57%, as shown below:

                  Reduced         Total                       Reduced       Total
                  Petitions     Petitions   Percentage        Petitions   Petitions
      Property   in Miami-     in Miami-     in Miami-           in          in       Percentage     Overall
        Type        Dade          Dade          Dade          Broward     Broward     in Broward   Percentage
       SINGLE
                      239         533        44.84%              91         210        43.33%       44.41%
       FAMILY
      CONDO           277         527        52.56%              28          86        32.56%       49.76%
       MULTI
                      545         785        69.43%              83         407        20.39%       52.68%
       FAMILY
       TOTALS         1,061      1,845       57.51%             202         703        28.73%

                       Overall Percentage    49.57%

                 c. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 70% with vacant
                    land,” when the actual success rate was between 4% and over 15%
                    lower, as shown below:

                  Reduced         Total                       Reduced       Total
                  Petitions     Petitions   Percentage        Petitions   Petitions
      Property   in Miami-     in Miami-     in Miami-           in          in       Percentage     Overall
        Type        Dade          Dade          Dade          Broward     Broward     in Broward   Percentage
      VACANT
                      301         456        66.01%              1           96         1.04%       54.71%
       LAND

                 d. making the false or misleading claim in their advertising that Tax Savers
                    has handled “250,000+ successful property tax appeals.”

           47.   The Defendants made one or more material misrepresentations of facts, including

   those referenced above.

           48.   The Defendants knew or should have known of the falsity of the statements.

           49.   The Defendants intended that the representations would induce another to rely and

   act on it.

           50.   Plaintiff competes with Defendants in the offering of services in the property tax

   appeal business.

           51.   Defendants’ aforesaid acts constitute false advertising in violation of Florida law.

           52.   The aforesaid acts of the Defendants have harmed or will harm Plaintiff.


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           53.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

           54.     Plaintiff has no adequate remedy at law.

           WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                                   COUNT III

                            VIOLATION OF THE FLORIDA DECEPTIVE
                              AND UNFAIR TRADE PRACTICES ACT
                                   (Fla. Stat. §501.201, et seq.)

                                             (Against all Defendants)
           55.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   54, including all subparts, as if fully set forth herein.

           56.     The Defendants have engaged in unfair methods of competition, unconscionable

   acts or practices, and unfair or deceptive practices, including but not limited to the following:

                   a. making the false or misleading claim in their advertising that, in 2023,
                      Tax Savers had “an industry-leading success rate of 85% for properties
                      valued at over $1 million across retail, multi-family, and industrial asset
                      classes,” when the actual success rate was nearly 30% lower at 57.84%,
                      as shown below:

                    Reduced        Total                        Reduced       Total
                    Petitions    Petitions    Percentage        Petitions   Petitions
      Property     in Miami-    in Miami-      in Miami-           in          in       Percentage     Overall
         Type         Dade         Dade           Dade          Broward     Broward     in Broward   Percentage
       MULTI
                      283          359         78.83%              41         187        21.93%       59.34%
       FAMILY
    INDUSTRIAL        253          284         89.08%              85         287        29.62%       59.19%
       RETAIL         192          255         75.29%              31         158        19.62%       54.00%
        TOTAL         728          898         81.07%             157         632        24.84%

                      Overall percentage       57.84%

                   b. making the false or misleading claim in their advertising that, in 2023,
                      Tax Savers had “an industry-leading success rate of 70% for properties
                      valued at over $500,000 across single family, condominium, and multi-


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                         family asset classes,” when the actual success rate was over 20% lower
                         at 49.57%, as shown below:

                      Reduced        Total                       Reduced       Total
                      Petitions    Petitions   Percentage        Petitions   Petitions
      Property       in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
        Type            Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
       SINGLE
                        239          533        44.84%              91         210        43.33%       44.41%
       FAMILY
      CONDO             277          527        52.56%              28          86        32.56%       49.76%
       MULTI
                        545          785        69.43%              83         407        20.39%       52.68%
       FAMILY
       TOTALS          1,061        1,845       57.51%             202         703        28.73%

                        Overall Percentage      49.57%

                     c. making the false or misleading claim in their advertising that, in 2023,
                        Tax Savers had “an industry-leading success rate of 70% with vacant
                        land,” when the actual success rate was over 15% lower at 54.71%, as
                        shown below:

                      Reduced        Total                       Reduced       Total
                      Petitions    Petitions   Percentage        Petitions   Petitions
      Property       in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
        Type            Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
      VACANT
                        301          456        66.01%              1           96         1.04%       54.71%
       LAND

                     d. making the false or misleading claim in their advertising that Tax Savers
                        has handled “250,000+ successful property tax appeals.”

          57.        As a consequence of Defendants’ false and/or misleading advertising, Defendants

   have unlawfully induced consumers into purchasing their services, and in turn has diverted sales

   from Plaintiff.

          58.        As a result, Defendants’ aforesaid acts constitute deceptive acts or practices in

   violation of Florida law.

          59.        The aforesaid acts of the Defendants have harmed or will harm Plaintiff.

          60.        The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.


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           61.     Plaintiff has no adequate remedy at law.

        WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                                 COUNT IV

           INTERFERENCE WITH ADVANTAGEOUS BUSINESS RELATIONSHIPS

                                         (Against all Defendants)

           62.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   33, including all subparts, as if fully set forth herein.

           63.     Plaintiff has established valuable business relationships with their existing and

   prospective clients who seek professional services in the property tax assessment appeal business.

           64.     Defendants have knowledge of Plaintiff’s existing and prospective business

   relationships, and is a competitor of Plaintiff.

           65.     Defendants have knowingly, maliciously, and intentionally interfered with

   Plaintiff’s existing and prospective business relationships by improper methods and through

   improper means including the publication, circulation, dissemination, and repetition of false,

   misleading, and deceptive advertising or promotion as a means of enticing Plaintiff’s existing and

   prospective clients, to cease doing business with the Plaintiff and commence doing business with

   the Defendants.

           66.     The aforesaid acts of the Defendants have harmed or will harm Plaintiff.

           67.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

           68.     Plaintiff has no adequate remedy at law.

           WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.




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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays:

          A.      That this Court will adjudge that the Defendants have engaged in false or

   misleading advertising, in violation of Plaintiff’s rights under the Lanham Act, 15 U.S.C. §1051 et

   seq., under the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201, et seq., and

   under § 817.41, Fla. Stat.;

          B.      That this Court will adjudge that Defendants have engaged in acts of unfair

   competition and tortious interference with advantageous business relationships, in violation of the

   common law of Florida;

          C.      That Defendants and all of Defendants’ officers, directors, agents, servants,

   employees, attorneys, successors, and assigns, and all persons in active concert or participation

   therewith, be permanently enjoined and restrained:

                  1.      From making or disseminating the false or misleading claims that are the

                          subject of this action, or other similar claims that are false or misleading in

                          violation of federal or state law; and

                  2.      From making or disseminating the false or misleading advertisements that

                          are the subject of this action, or other similar advertisements that are false

                          or misleading in violation of federal or state law.

          D.      That Defendants be directed to file with this Court and to serve upon Plaintiff within

   thirty (30) days after service of the injunction issued in this action, a written report under oath,

   setting forth in detail the manner of compliance with such order.




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          E.      That Plaintiff have recover Defendants’ profits and the damages of Plaintiff arising

   from Defendants’ acts of unfair competition and false advertising, and that the Court, pursuant to

   §35 of the Lanham Act, enter judgment, and that said sum be trebled as authorized pursuant to 15

   U.S.C. § 1117(a).

          F.      That Plaintiff have and recover such sums as are necessary to place or compensate

   for corrective advertising.

          G.      That Plaintiff have and recover nominal damages.

          H.      That Plaintiff have and recover punitive damages, pursuant to the laws of the State

   of Florida, including without limitation under § 817.41(6) and/or the common law, in addition to

   actual damages and/or nominal damages.

          I.      That Plaintiff have and recover both pre-judgment and post-judgment interest on

   each and every damage award.

          J.      That Plaintiff be entitled to injunctive relief as set forth in §34 of the Lanham Act,

   15 U.S.C. § 1116.

          K.      That Plaintiff have and recover the remedies set forth in §35 of the Lanham Act, 15

   U.S.C. §§1117.

          L.      That Plaintiff have and recover the remedies set forth in §36 of the Lanham Act, 15

   U.S.C. §§1118.

          M.      That the Court award an accounting of Defendants’ profits from the sale and/or fees

   generated in connection with the use of the claims or advertisements that are the subject of this

   action, through trial or final adjudication.




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             N.   That Plaintiff have and recover its reasonable attorney’s fees incurred in this action,

   pursuant to §35 of the Lanham Act, 15 U.S.C. §1117, pursuant to § 501.2105 of the Florida

   Statutes, pursuant to § 817.41(6) of the Florida Statutes, and/or as otherwise authorized.

             O.   That Plaintiff have and recover its taxable costs and disbursements herein, pursuant

   to §35 of the Lanham Act, 15 U.S.C. §1117, pursuant to § 501.2105 of the Florida Statutes,

   pursuant to § 817.41(6) of the Florida Statutes, and/or as otherwise authorized.

             P.   That Plaintiff have and recover such further relief as the Court may deem just and

   proper.

   Dated: November 12, 2024                                      Respectfully submitted,

                                                                 Oliver Alan Ruiz
                                                                 John Cyril Malloy, III
                                                                 Florida Bar No. 964,220
                                                                 jcmalloy@malloylaw.com
                                                                 Oliver Alan Ruiz
                                                                 Florida Bar No. 524,786
                                                                 oruiz@malloylaw.com
                                                                 Maximillian Scott Matiauda
                                                                 Florida Bar No. 1,038,639
                                                                 mmatiauda@malloylaw.com
                                                                 MALLOY & MALLOY, P.L.
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